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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

RICHARD MORROW,                                                            PLAINTIFF
ADC #175332

v.                        Case No. 4:21-cv-00007-LPR-JTK

F. STEWARD, et al.                                                      DEFENDANTS

                                     JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that this case is DISMISSED WITHOUT PREJUDICE.

      IT IS SO ADJUDGED this 25th day of January 2021.


                                              ________________________________
                                              LEE P. RUDOFSKY
                                              UNITED STATES DISTRICT JUDGE
